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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN

Ron Mercer, Kristi Mercer, Ned
Newhof, Rinda Newhof, and The Fair
Housing Center of West Michigan,

                                           Case No. 21-11336
                    Plaintiffs,

                                           Hon. Nancy Edmunds
              v.
                                           Magistrate Judge Anthony P. Patti
                                           United States District Judge
Edward Rose & Sons, Inc. d/b/a The
Crossings Apartments and Edward
Rose Company, severally and jointly,


                    Defendants.


       STIPULATED ORDER TO SEAL EXHIBIT 4 OF ECF NO. 39

      This matter comes before the Court upon the stipulation of counsel for all

parties, wherein the parties hereby stipulate and agree as follows:

      WHEREAS, Plaintiffs Ron Mercer, Kristi Mercer, Ned Newhof, and Rinda

Newhof filed a Motion to Compel complete responses to their First Interrogatories

8 and 9 and their First Request to Produce 7 and 14 on December 28, 2021.

      WHEREAS, Defendants filed their response on January 12, 2022.

      WHEREAS, Plaintiffs filed their reply on January 18, 2022. Exhibit 4 in their

reply erroneously contains the first names of Doe Mercer and Doe Newhof.
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      WHEREAS, a Protective Order stipulating that Doe Mercer and Doe Newhof

must be referred to as such was entered by the Court on November 24, 2021.

      THEREFORE, IT IS HEREBY ORDERED that Plaintiffs will re-file Exhibit

4 to their reply to the response to Motion to Compel complete responses to their First

Interrogatories 8 and 9 and their First Request to Produce 7 and 14 (ECF no. 39)

under seal.


IT IS SO ORDERED.

                                       s/Anthony P. Patti
                                       Anthony P. Patti
                                       United States Magistrate Judge


Dated: January 20, 2022

STIPULATED AS TO FORM AND SUBSTANCE:

s/ Robin B. Wagner                         s/ Haba K. Yono (w/ permission)
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JENNIFER L. LORD (P46912)                  JENNIFER L. MUSE (P81208)
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